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14   and Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
15                          IN THE UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18   In re: CATHODE RAY TUBE (CRT) ANTITRUST ) Case No. 07-5944 SC
     LITIGATION                              )
19                                           ) MDL. No. 1917
     This Document Relates to:
20                                             DECLARATION OF EVA W. COLE IN
     INDIRECT-PURCHASER ACTIONS                SUPPORT OF DEFENDANTS’ REPLY
21                                             MEMORANDUM OF LAW IN
                                               SUPPORT OF DEFENDANTS’
22                                             MOTION TO STRIKE THE
                                               PROPOSED EXPERT TESTIMONY OF
23                                             DR. JANET S. NETZ
24

25                     DOCUMENT SUBMITTED PARTIALLY UNDER SEAL

26                                     AND CHAMBERS COPY

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28   DECL. OF EVA W. COLE I/S/O DEFENDANTS’ REPLY                                   Case No. 07-5944 SC
     MEMORANDUM OF LAW I/S/O DEFENDANTS’ MOTION TO STRIKE                                MDL No. 1917
     THE PROPOSED EXPERT TESTIMONY OF DR. JANET S. NETZ
        Case 4:07-cv-05944-JST Document 1616-2 Filed 03/27/13 Page 2 of 3




 1   I, Eva W. Cole, declare as follows:

 2          I am an attorney with Winston & Strawn LLP, attorneys for Defendants Panasonic
 3   Corporation of North America, MT Picture Display Co., Ltd., and Panasonic Corporation (f/k/a
 4   Matsushita Electric Industrial Co., Ltd.) (collectively, the “Panasonic Defendants”) in these actions.
 5   I am a member of the bar of the State of New York and I am admitted to practice before this Court
 6   pro hac vice. I make this declaration in support of Defendants’ Reply Memorandum of Law in
 7   Support of Defendants’ Motion to Strike the Proposed Expert Testimony of Dr. Janet S. Netz.
 8                  1.      Attached hereto as Exhibit 1 is a true and correct copy of the entire transcript

 9   of the November 15, 2012 and March 15, 2013 deposition of Dr. Janet S. Netz, the Indirect-

10   Purchaser Plaintiffs’ expert witness.

11                  2.      Attached hereto as Exhibit 2 is a true and correct DVD copy of the November

12   15, 2012 videotaped deposition testimony of Dr. Janet S. Netz.

13                  3.      Attached hereto as Exhibit 3 is a true and correct DVD copy of the March 15,

14   2013 videotaped deposition testimony of Dr. Janet S. Netz.

15                  4.      Attached hereto as Exhibit 4 is a true and correct copy of

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18

19                  5.      Attached hereto as Exhibit 5 is a true and correct copy of

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21

22                  6.      Attached hereto as Exhibit 6 is a true and correct copy of

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24

25                  7.      Attached hereto as Exhibit 7 is a true and correct copy of the entire transcript

26   of the January 24, 2013 deposition of Professor Robert D. Willig, Defendants’ expert witness.

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                                                      -2-
28   DECL. OF EVA W. COLE I/S/O DEFENDANTS’ REPLY                                        Case No. 07-5944 SC
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        Case 4:07-cv-05944-JST Document 1616-2 Filed 03/27/13 Page 3 of 3




     DATED: March 25, 2013               By:    /s/ Eva W. Cole
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25

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28   DECL. OF EVA W. COLE I/S/O DEFENDANTS’ REPLY                           Case No. 07-5944 SC
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